 Case 4:21-cv-04201-LLP Document 36 Filed 05/10/22 Page 1 of 1 PageID #: 315




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                  SOUTHERN DIVISION

                                             ****************************************




gpac, LLP,                                               CIV 21-4201


              Plaintiff,

       vs.                                                  ORDER


BLAKE ANDERSEN and
CYBERCODERS,INC.,

              Defendants.



       The Joint Motion for Continuance of Preliminary Injimction Hearing filed by Defendants
Cybercoders and Blake Andersen, Doc. 27, is denied.
       IT IS SO ORDERED.


       Dated this IQ-^day of May,2022.

                                          BY THE COURT:




                                           fawrence L. Piersol
ATTEST;                                   United States District Judge
MATTHEW W.THELEN,CLERK
